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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RILEY GAINES, et al.,

             Plaintiffs,
        v.
                                            Case No. 1:24-cv-01109-MHC
NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION, et al.,

             Defendants.


                BRIEF IN SUPPORT OF MOTION FOR LEAVE
                   TO PROCEED UNDER PSEUDONYMS
    Plaintiffs Swimmer A and Track Athlete A (collectively, “Doe Plaintiffs”), by

and through the undersigned counsel, respectfully seek leave to proceed under

pseudonyms in this action to protect their identities from public disclosure while

they pursue this lawsuit. This motion is supported by the Declarations of Swimmer

A (Ex. G hereto) and Track Athlete A (Ex. H hereto),1 as well as the following

declarations being filed simultaneously herewith:

        •    Declaration of Dr. Wayne Lewis (Ex. A hereto),

        •    Declaration of Dr. Donna Hughes (Ex. B hereto),

        •    Declaration of Dr. Carole Hooven (Ex. C hereto),

    1
       Plaintiffs are simultaneously filing these declarations provisionally under seal
along with a motion pursuant to Local Rule 79.1(C)(2) requesting permission to
file the Declarations under seal and will file them promptly upon receipt of an
order from the Court authorizing them to do so under seal.
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      •      Declaration of Plaintiff Riley Gaines (Ex. D hereto),

      •      Declaration of Macy Petty (Ex. E hereto), and

      •      Declaration of Plaintiff Lily Mullens (Ex. F hereto).

                                 INTRODUCTION
      On March 14, 2024, sixteen young women filed a lawsuit against the

NCAA—one of the most powerful sports organizations in the United States—to

challenge its transgender eligibility policies for the sports in which they either

currently compete or have competed at the collegiate level. In their declarations,

the Doe Plaintiffs express their own concerns regarding their personal safety and

fears of backlash, stigma, and reprisals on the college campuses and communities

where they study, work, and reside if it became publicly known that they were

taking a position on this issue. As detailed in the supporting declarations of Dr.

Wayne Lewis, Donna Hughes, and Carol Hooven, America’s college campuses

have largely failed to provide a safe environment in which rational dialogue and

debate on the issue of gender identity and ideology can occur. As further support of

these observations, opinions, and experiences, Plaintiffs Riley Gaines and Lily

Mullens as well as declarant Macy Petty have already spoken out publicly against

the NCAA’s policies, and as a result, they and others like them have been

subjected to ridicule, shout-downs, death threats, stalkers, and other threats to their

safety.



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          For these reasons and those that follow,2 the Doe Plaintiffs are seeking to

proceed anonymously because they reasonably fear similar treatment on the

college campus communities where they currently live, study, compete, or work. In

fact, the Doe Plaintiffs have expressed that they may want to reconsider their

participation in this lawsuit seeking to vindicate their rights if the Court were to

deny this motion.

                                      ARGUMENT

A.        This Court has the Power to Allow Plaintiffs to Use Pseudonyms
          Fed. R. Civ. P. 10(a) requires that the title of the complaint “must name all

the parties.” This rule “creates a strong presumption in favor of parties’ proceeding

in their own names [because] Defendants have the right to know who their

accusers are, as they may be subject to embarrassment or fundamental unfairness if

they do not.” Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011) (citing

Doe v. Smith, 429 F.3d 706, 710 (7th Cir. 2005) (“[The plaintiff] has denied [the

defendant] the shelter of anonymity—yet it is [the defendant], and not the plaintiff,

who faces disgrace if the complaint’s allegations can be substantiated. And if the

complaint’s allegations are false, then anonymity provides a shield behind which

defamatory charges may be launched without shame or liability.”)).




     2
         Additional facts and related details will be discussed in the Argument section.


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      However, “the rule is not absolute.” Doe v. Neverson, 820 F. App’x 984, 986

(11th Cir. 2020) (quoting Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir.

2011)). “A party may proceed anonymously in a civil suit in federal court by

showing that he has a substantial privacy right which outweighs the customary and

constitutionally-embedded presumption of openness in judicial proceedings.”

Plaintiff B v. Francis, 631 F.3d at 1315–16 (internal quotes omitted). “Whether a

party’s right to privacy outweighs the presumption of openness is a ‘totality-of-the-

circumstances question.’” Doe v. Neverson, 820 F. App’x at 986 (quoting In re

Chiquita Brands Int’l Inc., 965 F.3d 1238, 1247 n.5 (11th Cir. 2020)).

      The “‘first step’ in deciding whether privacy trumps publicity is to apply”

three factors—whether the party seeking anonymity:

             (1)    is challenging government activity;

             (2)    would be compelled, absent anonymity, to disclose information
                    of utmost intimacy; or
             (3)    would be compelled, absent anonymity, to admit an intent to
                    engage in illegal conduct and thus risk criminal prosecution.
In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1247. However, the Eleventh Circuit

has “made clear that this is only the first step. Along with these factors, a court

should carefully review all the circumstances of a given case and then decide

whether the customary practice of disclosing the plaintiff’s identity should yield to

the plaintiff’s privacy concerns.” In re: Chiquita Brands Int’l, Inc., 965 F.3d at

1247 (internal quotes omitted) (emphasis in original). “Other factors to consider

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include whether the party seeking anonymity is a minor or faces a real threat of

physical harm absent anonymity [and] whether the party’s requested anonymity

poses a unique threat of fundamental unfairness to the defendant.” Id. (internal

quotes omitted).

       Applying the relevant factors here demonstrates that the Doe Plaintiffs’

privacy interests outweigh the customary practice of disclosing the plaintiff’s

identity.

B.     The Doe Plaintiffs’ Privacy Interests Outweigh the Public Interest in
       Disclosure under the Eleventh Circuit’s Relevant Factors
       Applying the relevant factors identified below, the Doe Plaintiffs’ privacy

interests outweigh the public’s interest in knowing their identity.

       B.1. The “First Step” Factors Weigh in Favor of the Doe Plaintiffs’
            Anonymity

     The Eleventh Circuit has established three factors as a “first step” in deciding

whether privacy trumps publicity—whether the party seeking anonymity:

              (1)   is challenging government activity;
              (2)   would be compelled, absent anonymity, to disclose
                    information of utmost intimacy; or

              (3)   would be compelled, absent anonymity, to admit an
                    intent to engage in illegal conduct and thus risk criminal
                    prosecution.

In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1247. Each of these weigh in favor

of permitting the Doe Plaintiffs to proceed under a pseudonym.



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             B.1.i.    Governmental Activity vs. Private Party Defendants

      This factor is relevant to the inquiry because while a private party defendant

may “face[] disgrace if the complaint’s allegations can be substantiated…

provid[ing] a shield behind which defamatory charges may be launched [against

the defendant] without shame or liability,” Plaintiff B v. Francis, 631 F.3d at 1315

(citing Doe v. Smith, 429 F.3d at 710), “a government agency…can suffer no

injury to its good name and reputation.” Freedom From Religion Found., Inc. v.

Emanuel Cnty. Sch. Sys., 109 F. Supp. 3d 1353, 1357 (S.D. Ga. 2015).

      Plaintiffs acknowledge this factor weighs against their request for

anonymity because, while they assert claims against government agencies like the

University System of Georgia and its public universities, they also include claims

against individuals like the President of Georgia Tech and the individual members

of the Board of Regents. (Compl. Doc. 1 ¶¶ 146, 150–174, 177.) The Eleventh

Circuit has held that suing a government agency does not provide more reason to

grant anonymity; rather, suing private individuals provides more reason to deny

anonymity. Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992). “[T]he operative

principle is that a suit against a private party weighs against a plaintiff’s request

for anonymity.” Freedom From Religion Found., Inc., 109 F. Supp. 3d at 1357.

(emphasis in original) (granting anonymity and holding that other factors




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outweighed suit against individual administrators and teachers of public school

district).

        However, this factor does not weigh as heavily against anonymity as it might

in other cases involving truly private parties and private conduct, because the party

defendants here are not particularly “private” and their actions at issue have a very

public nature. With respect to the individual defendants, each of them holds public

office (Compl. Doc. 1 ¶¶ 146, 150–174, 177) and is being sued for actions taken

under color of their public office by implementing the NCAA’s transgender

eligibility policy. (Compl. Doc. 1 ¶¶ 92–94.)

        Moreover, although the NCAA is an unincorporated association, it is very

public in nature insofar as it is comprised of more than 1,100 colleges and

universities, most of which receive federal funding. (Compl. Doc. 1 ¶¶ 17–18.)

More than two-thirds of the NCAA’s Division I schools are public universities, as

are almost half of its Division II schools.3 The NCAA is also the largest collegiate

athletic rulemaking and enforcement body in the United States, to whom its

member institutions have ceded control over the regulation of college sports.

(Compl. Doc. 1 ¶¶ 19, 22.) In addition, the NCAA itself shined a spotlight on its


    3
      NATIONAL COLLEGIATE ATHLETIC ASSOCIATION, INSTITUTIONAL
CHARACTERISTICS OF NCAA MEMBER SCHOOLS (2015), at 5,
https://ncaaorg.s3.amazonaws.com/research/demographics/2017RES_institutionalc
haracteristics.pdf.


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policies and actions that are at the center of this lawsuit when it issued a series of

media releases in January and February 2022 publicizing its transgender eligibility

policies4 and decisions relating to its 2022 Women’s Swimming and Diving

Championships.5

          Thus, while this factor weighs against Plaintiffs proceeding anonymously,

the Court should afford this factor less weight.

                B.1.ii.   Disclosing Information of “Utmost Intimacy” and
                          Admitting an Intent to Engage in “Illegal Conduct”
          The Eleventh Circuit has stated that “[d]ivulging personal information of the

utmost intimacy or having to admit an intent to engage in prohibited conduct are

proper factors to consider when a plaintiff requests anonymity.” Doe v. Frank, 951

F.2d 320, 324 (11th Cir. 1992). However, “personal embarrassment, standing

alone, does not require the granting of his request to proceed under a pseudonym.”

Id.



      4
      Press Release, Board of Governors Updates Transgender Participation Policy
(Jan. 19, 2022), available at
https://ncaaorg.sidearmsports.com/news/2022/1/19/media-center-board-of-
governors-updates-transgender-participation-policy.aspx.
      5
     Press Release, National Collegiate Athletic Association, CSMAS
Subcommittee Recommends No Additional Changes to Testosterone Threshold for
Trans Women at 2022 Women’s Swimming and Diving Championships (Feb. 10,
2022), available at https://www.ncaa.org/news/2022/2/10/media-center-csmas-
subcommittee-recommends-no-additional-changes-to-testosterone-threshold-for-
trans-women-at-2022-womens-swimming-and-diving-championships.aspx.


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         Many cases granting plaintiffs anonymity have involved allegations of a

sexual nature, such as sexual assault,6 homosexuality,7 abortion,8 and

transsexuality.9 This case certainly has elements in a similar vein insofar as it

involves transsexuality, as well as the embarrassment that some of the Doe

Plaintiffs suffered by being forced to share a locker room with a six-foot-four-inch,

fully genataliaed male-bodied individual and expose themselves while changing

into competition swimsuits. (Compl. ¶¶ 361–417.)

         However, while those elements are present here, Plaintiffs’ interests go

beyond mere embarrassment arising from the locker room incident and extend to

matters of personal beliefs and positions for which they objectively fear

stigmatization, ostracization, retaliation, online bullying, and acts of hostility both

in person and online, including possible threats of physical violence, in the college

campus communities where they live, work, and study, if forced to disclose their

identities. Doe v. Neverson, 820 F. App’x at 987–88 (reversing district court’s

denial of anonymity and stating “we have held that ‘social stigma’ is sufficient to




    6
        Doe v. Neverson, 820 F. App’x 984 (11th Cir. 2020).
    7
     Doe v. Commonwealth’s Att’y for City of Richmond, 403 F. Supp. 1199 (E.D.
Va. 1975), aff’d, 425 U.S. 901 (1976).
    8
        Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678 (11th Cir. 2001).
    9
        Doe v. McConn, 489 F. Supp. 76 (S.D. Tex. 1980).


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warrant proceeding anonymously”). In this regard, the Court of Appeals opinion in

Doe v. Stegall, 653 F.2d 180 (5th Cir. 1981), is both instructive and analogous.

      In Stegall, a plaintiff mother and her minor children sought permission to

proceed anonymously in their lawsuit challenging the constitutionality of prayer

and Bible reading exercises in public school. Id. at 180. The district court denied

their motion, but the Eleventh Circuit reversed, holding that the district court

abused its discretion. Id. at 186. In reaching its conclusion, the appellate court

considered the “utmost intimacy” and “illegal conduct” factors together, stating:

      Here, the Does complain of public manifestations of religious belief;
      religion is perhaps the quintessentially private matter. Although they
      do not confess either illegal acts or purposes, the Does have, by filing
      suit, made revelations about their personal beliefs and practices that
      are shown to have invited an opprobrium analogous to the infamy
      associated with criminal behavior. Evidence on the record indicates
      that the Does may expect extensive harassment and perhaps even
      violent reprisals if their identities are disclosed to a Rankin County
      community hostile to the viewpoint reflected in plaintiffs’ complaint.
      [Citation.] The threat of hostile public reaction to a lawsuit, standing
      alone, will only with great rarity warrant public anonymity. But the
      threats of violence generated by this case, in conjunction with the
      other factors weighing in favor of maintaining the Does’ anonymity,
      tip the balance against the customary practice of judicial openness.

Id. The record evidence on which the Court of Appeals based its conclusion

included local newspaper reports of a public meeting at which members of the

community expressed opinions that plaintiffs “want[] to destroy Christianity,” that

“Christians must beat the evil out of these people,” that plaintiffs “should be




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ashamed of themselves,” and that “[w]e have got to band together and whop this

evil thing.” Id. at 182 n.6.

      Similarly here, the Doe Plaintiffs “have, by filing suit, made revelations

about their personal beliefs [with respect to transgenderism and male physical

advantages] that are shown to have invited an opprobrium analogous to the infamy

associated with criminal behavior” in the college campuses and communities

where they live, work, and study. Id. at 186. They have also introduced “[e]vidence

on the record [that they] may expect extensive harassment and perhaps even

violent reprisals if their identities are disclosed to a [college] community hostile to

the viewpoint reflected in plaintiffs’ complaint.” Id.

      Here, Plaintiffs’ Complaint reflects the viewpoint that biological males

generally have inherent physical advantages over females in athletic contests and

thus should not be allowed to compete in female-only events as a matter of

fairness, regardless of which gender an athlete may identify as. In Stegall, the

relevant community was the “Rankin County [Mississippi] community”; here, it is

academia and the college campus communities where the Doe Plaintiffs study,

compete, work, and reside.

      Regrettably, efforts have already been made to inflame public opinion

against Plaintiffs merely for filing this lawsuit raising their claims under Title IX.

For example, on the day the National Women’s Law Center (NWLC) filed a


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motion to intervene in this case, the NWLC and its lawyers issued press releases

falsely calling Plaintiffs “anti trans extremists” and claiming they are seeking to

misuse Title IX for the purpose of “bullying” trans students. NWLC Joins Lawsuit

Defending Trans Inclusion in College Sports, May 6, 2024, available at:

https://nwlc.org/resource/nwlc-joins-lawsuit-defending-trans-inclusion-in-college-

sports/; National Women’s Law Center Intervenes in Defense of Transgender

College Athletes, May 6, 2024, available at: https://www.aclu.org/press-

releases/national-womens-law-center-intervenes-in-defense-of-transgender-

college-athletes (quote attributed to Shiwali Patel, Senior Counsel at the NWLC).

Extending its rhetoric even further, the NWLC characterized Plaintiffs’ lawsuit as

“not only an attack on trans women and girls–it’s an attack on all women and

girls.” Id. (quote attributed to Jennesa Calvo-Friedman, Staff Attorney for the

ACLU’s Women’s Rights Project). With no supporting evidence, the NWLC

claimed that “[i]t’s no coincidence that the activists who brought this case think

women should be solely defined by our ability to carry children” and that “[t]his

case is part of a broader, extreme effort to control women’s bodies and lives, but

we won’t let them succeed in selling women out.” Id. (quote attributed to Jennesa

Calvo-Friedman, Staff Attorney for the ACLU’s Women’s Rights Project).

      The vicious rhetoric already leveled against Plaintiffs by the NWLC’s

lawyers merely because Plaintiffs brought this case impugns Plaintiffs’ reputations,


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harms their academic and professional opportunities, and raises the very real threat

of physical violence towards them on the campuses on which they live, which is

why the Doe Plaintiffs need pseudonym protection. Demonstrating just how

charged and dangerous the atmosphere around the issues in this case have become

is NWLC literature focusing on the very topic of this case, i.e., rules governing

eligibility on women’s sports teams, which labels all who disagree with the NWLC

as “anti-trans extremists” and states that “anti-trans extremists overlap with villains

from the anti-abortion movement and full-on white supremacists and misogynists –

they’re all creepily trying to control other people’s bodies!” Just Let Kids Play!

May 10, 2023, available at: https://nwlc.org/just-let-kids-play/ (authors Auden

Perino, NWLC Senior Counsel, Hunter Iannucci, NWLC Counsel).

      NWLC and its lawyers have already made the leap from Plaintiffs merely

filing this lawsuit to calling them “anti trans extremists,” demonstrating that

Plaintiffs already face hostile rhetoric and extreme backlash for merely raising

their Title IX claims in this Court. The Doe Plaintiffs are reasonably concerned

about additional dangers to them on their campuses if their status as Plaintiffs is

publicly tied back to them, and have submitted the declarations of multiple

academics, with decades of experience, who find their fears reasonable and well

supported.




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       Plaintiffs have designated the Declarations of Drs. Lewis, Hughes, and

Hooven—with more than 70 years’ combined work experience on college faculties

and administration—who describe the general hostility towards Plaintiffs’

viewpoint in college campus communities today. (Exs. A, B, and C.) Each of these

experts has not only observed hostilities on college campuses around the country

generally but has personally experienced hostilities for expressing the viewpoint

reflected in the Complaint.

       After more than 25 years as a professor at the University of Rhode Island in

Women’s Studies, Dr. Hughes faced severe backlash after publishing an essay

expressing similar viewpoints, prompting a social media movement calling for the

university to discipline her and fire her from her position, and leading the school’s

dean to publicly denounce and condemn her statements. (Hughes Decl., Ex. B ¶¶ 1,

8–9.) Notably, Dr. Hughes afterward heard from others in her campus community

who felt they could not speak up in her defense for fear of academic retaliation.

(Id. ¶ 12.)

       Similarly, Dr. Hooven describes how she was forced to resign as co-chair of

the Department of Human Evolutionary Biology (HEB) at Harvard University after

successfully teaching there for 20 years and conducting research into which male

and female sex hormones most significantly affect behavioral tendencies. (Hooven

Decl., Ex. C ¶¶ 3–6.) Her forced resignation stemmed from ostracization after an


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interview discussing the publication of her research in which she stated that “there

are in fact two sexes—there male and female—and those sexes are designated by

the kinds of gametes we produce.” (Id. ¶¶ 16, 26–27.) She was labeled

“transphobic” and “harmful” and was accused of “threatening the safety of the

community” when she merely asked for a discussion of the issues. (Id. ¶¶ 18, 21.)

      Likewise, Dr. Lewis, President of Houghton University in New York,

encountered opposition to his statement espousing the viewpoint reflected in the

Complaint—even from those who supported his position—out of fear of

reputational harm merely for expressing the position. (Lewis Decl., Ex. A ¶¶ 12–

13.) Dr. Lewis’s extensive experience in academia and education in a variety of

settings has led him to opine that “in the current environment on college campuses,

individuals who are identified as Plaintiffs in [this] Case are likely to experience

discrimination, retaliation, hostile treatment, and backlash for serving as

Plaintiffs.” (Id. ¶ 19.) In his opinion, simply asserting that “biological men have

physiological advantages over women and should not be permitted to compete in

women’s athletics is very often deemed as hate speech, discriminatory, and bigoted

by university administrators, faculty, and students.” (Id. ¶ 21.) “Such

discrimination and pushback can take many forms including threats of violence,

the possibility of actual violence, being labeled a bigot…, shunning and hostile




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treatment” that “can make it nearly impossible…to participate normally in the life

of the campus.” (Id. ¶ 19.)

         All three experts agree that individuals who publicly oppose transgender

athletes in women’s sports on college campuses face a threat of significant

discrimination, retaliation, and hostile treatment in the form of threats of violence,

shunning, and exclusion from campus activities, among others. (Lewis Decl., Ex.

A ¶¶ 19, 24; Hughes Decl., Ex. B ¶ 13; Hooven Decl., Ex. C ¶¶ 29–30.)

         In addition to the declarations of these faculty and administrators, the Doe

Plaintiffs have designated the declarations of some co-Plaintiffs and a non-Plaintiff

recently graduated student-athlete who have already spoken publicly and faced

tangible hostilities beyond mere embarrassment.10 In her declaration and its

accompanying videos, Plaintiff Riley Gaines details the events after her public

presentation at San Francisco State University, where a group of activists and

protestors shouted and screamed profanities at her while she was trapped in a small

office for three hours. (Gaines Decl., Ex. D ¶¶ 9–20.) During this time, members of

the crowd shouted things like:


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       The Eleventh Circuit has deemed it appropriate to consider the adverse prior
experiences of similarly situated plaintiffs. See, Plaintiff B v. Francis, 631 F.3d
1310, 1318 (11th Cir. 2011) (noting the adverse consequences of publicity
experienced by the plaintiff in Lane v. MRA Holdings, LLC, 242 F. Supp. 2d 1205
(M.D.Fla. 2002), and holding “[t]his is certainly part of ‘all the circumstances’ of
this case”) (emphasis in original).


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      •      “Trans rights are under attack, what do we do? We fight back!” (Id.
             ¶ 11);

      •      “You did this to yourself, bitch! You come on this campus and think
             we’re not going to start a riot?!” (Id. ¶ 17)

      •      “Tell her to talk her shit right here, and then we’ll let that bitch leave.
             Tell her, say ‘I’m a fucking transphobe’ right here, right fucking
             here!” (Id. ¶ 17);

      •      “You asshole bitch!” and “loser” (Id. ¶ 17);

      •      “Tell her to pay us and then she can go!” (Id. ¶ 18).

      Similarly, Plaintiff Lily Mullens describes the experience of the six Plaintiffs

from the women’s swimming team at Roanoke College near Roanoke, Virginia.

After publicly voicing objections to the participation of a male-bodied person on

their women’s team, social media posts were directed to them saying things like:

      •      “have the [women’s] swim team drawn and quartered” (Ex. F-1);

      •      “kate, bailey, and lily, i hope karma gets you one day” (Ex. F-2); and

      •      “Special fuck you to the transphobic swim team members” (Ex. F-3).

      These comments are similar in the level of hostility, threats, and intensity as

the public comments directed to the plaintiffs in Stegall, on which the Court of

Appeals reversed the district court’s denial of anonymity:

      •      Plaintiffs “want[] to destroy Christianity,”

      •      “Christians must beat the evil out of these people,”

      •      Plaintiffs “should be ashamed of themselves,” and

      •      “We have got to band together and whop this evil thing.”


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Doe v. Stegall, 653 F.2d at 186.

      Moreover, the Doe Plaintiffs’ own declarations demonstrate they have

already encountered similar hostilities on their own campuses. These include:

      •      refusing to allow a speaker on campus who would question
             transgender ideology (Ex. G ¶¶ 8–9);

      •      LGBTQ+ student groups on campus who expressly advocate
             interrupting any behavior deemed to denigrate the LGBTQ+
             community (Id. ¶ 10);

      •      being called an “idiot” for holding similar views (Ex. H ¶ 12);

      •      closing comments to social media posts and removing any comments
             favorable to Plaintiffs’ viewpoint (Id. ¶ 17);

      •      upon learning the views of one Doe Plaintiff, a teammate stating “she
             just wished [Doe Plaintiff] were dead” (Id. ¶ 18);

      Therefore, the “utmost intimacy” and “illegal conduct” factors, as applied by

the Stegall Court, weigh heavily in favor of maintaining the Doe Plaintiffs’

anonymity.

      B.2. Other Factors

      The Eleventh Circuit has “made clear that [these factors are] only the first

step. Along with these factors, a court should carefully review all the

circumstances of a given case and then decide whether the customary practice of

disclosing the plaintiff’s identity should yield to the plaintiff’s privacy concerns.”

In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1247 (internal quotes omitted).

“Other factors to consider include whether the party seeking anonymity is a minor


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or faces a real threat of physical harm absent anonymity [and] whether the party’s

requested anonymity poses a unique threat of fundamental unfairness to the

defendant.” Id. (internal quotes omitted).

             B.2.i.     Real Threats of Physical Harm
      The facts recited above also constitute real threats of physical harm to the

Doe Plaintiffs if they are forced to reveal their identities.

      In Doe v. Neverson, 820 F. App’x 984 (11th Cir. 2020), the plaintiff sought

anonymity in her case against a well-known recording artist for sexual assault. The

district court denied the plaintiff’s motion, but the Eleventh Circuit reversed,

holding that “the district court failed to consider that, in other cases, we have held

that ‘social stigma’ is sufficient to warrant proceeding anonymously” and “may

have too easily discounted evidence that Ms. Doe would be subject to threats and

harassment if she were required to proceed under her real name.” Id. at 988. The

Court of Appeals was persuaded by Ms. Doe’s evidence consisting of comments

made by readers on websites and blogs that reported news of her lawsuit. Id. The

readers made comments such as:

      •      “THESE H0’s GOTTA STOP WITH THIS BS”;

      •      “Just another female tryna get some money from a celebrity”;

      •      “Man get tf outta here ... where she at #LeaveTreyAlone
             #ThirstTraps”;




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      •      “I know someone can pull up Diddys 2017 New Year’s Eve photos
             let’s find out who this chick is roomies”;

      •      “how much would it have been if he killed the same person ...”;

      •      “Y’all Gon stop lying on my man, I’m ready to fight!”; and

      •      “She lying. Idc who it is. She lying.”

Id. at 985–86. In reaching its conclusion, the Eleventh Circuit stated, “In today’s

digital age, Ms. Doe’s evidence seems similar to the news report we relied on in

Stegall.” Id. at 988.

      Here, Plaintiffs have submitted similar social media posts and other

comments, including:

      •      To “have the [women’s] swim team drawn and quartered” (Ex. F-1);

      •      “i hope karma gets you one day” (Ex. F-2); and

      •      “Special fuck you to the transphobic swim team members” (Ex. F-3).

      •      being called “idiotic” (Ex. H ¶ 12);

      •      “[I] just wished she were dead” (Id. ¶ 18); and

      •      “Trans rights are under attack, what do we do? We fight back!”
             (Gaines Decl., Ex. D ¶ 11).

Additionally, since her experience at San Francisco State University, Plaintiff

Riley Gaines has been spat upon, received death threats, had personal information

publicized, and had to hire private security. (Gaines Decl., Ex. D ¶¶ 22–23.)

      Thus, the evidence submitted by Plaintiffs demonstrates the Doe Plaintiffs

will be subject to threats and harassment if required to proceed under their real


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names. This factor, too, weighs heavily in favor of granting the Doe Plaintiffs’

request for anonymity.

             B.2.ii.    Age of Doe Plaintiffs
      Courts have also looked to the age of plaintiffs as a factor in determining

whether to grant anonymity. In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1247

(“Other factors to consider include whether the party seeking anonymity is a

minor….”); see also, Doe v. Stegall, 653 F.2d at 186 (noting the minority of

plaintiffs). In Doe v. Alger, 317 F.R.D. 37, 40 (W.D. Va. 2016), the district court

expressly considered the plaintiff’s age as a factor when allowing a college student

to proceed under a pseudonym. The court noted that if the plaintiff and other

college students involved in the case were just a year or so younger, then Fed. R.

Civ. Proc. 5.2(a)(3) would mandate the use of initials, absent a court order. Id.

(holding that this “factor weighs in favor of anonymity, as well”).

      While none of the Doe Plaintiffs are minors, the Court should consider the

fact that they are still young adults in college, only a couple years past the age of

majority. Thus, this factor tips slightly in favor of granting the Doe Plaintiffs

anonymity.

             B.2.iii.   No Unique Threat of Fundamental Unfairness to
                        Defendants Due to Anonymity

      Finally, granting the Doe Plaintiffs anonymity would not “pose[] a unique

threat of fundamental unfairness to the defendant.” In re: Chiquita Brands Int’l,


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Inc., 965 F.3d at 1247. The Court of Appeals in Doe v. Stegall has observed that

“[t]he equation linking the public’s right to attend trials and the public’s right to

know the identity of the parties is not perfectly symmetrical.” Doe v. Stegall,

653 F.2d at 185. “The public right to scrutinize governmental functioning is not so

completely impaired by a grant of anonymity to a party as it is by closure of the

trial itself.” Id. (citation omitted). “Party anonymity does not obstruct the public’s

view of the issues joined or the court’s performance in resolving them. The

assurance of fairness preserved by public presence at a trial is not lost when one

party’s cause is pursued under a fictitious name.” Id.

      Here, the Doe Plaintiffs are not seeking to completely close the trial but

rather the lesser remedy of anonymity. Moreover, they are not seeking to withhold

their identities from Defendants; rather, they merely seek a protective order that

would prevent Defendants and others on a need-to-know basis from disclosing

their identities. Thus, Defendants face no unique threat of fundamental unfairness

if the Doe Plaintiffs are allowed to proceed under pseudonyms. As a result, this

factor weighs in favor of granting Doe Plaintiffs’ motion.

                                    *      *      *
      Thus, considering the “first step” factors as well as “all the circumstances”

of this case, In re: Chiquita Brands Int’l, Inc., 965 F.3d at 1247, the factors in total

demonstrate that the Doe Plaintiffs’ privacy interests outweigh the public’s interest



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in knowing their identities, and protection of their identities will not prejudice the

Defendants. The Court should therefore grant the Doe Plaintiffs permission to

proceed under pseudonyms.

                                    CONCLUSION
    For the foregoing reasons, the Doe Plaintiffs request the Court to grant their

motion and to enter an order11 that would prohibit Defendants, their counsel, and

those who have a need-to-know Doe Plaintiffs’ identities from disclosing their

identities, and for all other just and proper relief.




    11
      Plaintiffs have submitted a proposed order with Plaintiffs’ Motion. Plaintiffs
are currently conferring with Counsel for the NCAA regarding whether the parties
can agree to the language of the proposed order. If such agreement is reached
Plaintiffs will submit the agreed order language to the Court.


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                                  Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

   Pursuant to Local Rule 7.1(D), counsel certifies that the foregoing was

prepared in Times New Roman, 14-point font, in compliance with Local Rule

5.1(C).

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